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                                                                              JAMES N. HATTEN, Ol,rk
                                                                  By:                        ~,
                                IN THE UNITED STATES DISTRICT COURT                          1]1'1 0Ierk
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


                    UNITED STATES OF AMERICA,
                                                           CRIMINAL CASE NO.
               v.                                          1: 13-CR-0385-JEC-LTW
               GERARDO MILIAN NAGERA,
                               Defendant.

             REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY l
                      The Defendant GERARDO MILIANNAGERA ("Defendant"), by consent, has

             appeared before the undersigned United States Magistrate Judge and has entered a

             plea ofguilty to the Indictment. After cautioning and examining the Defendant under

             oath concerning each ofthe subjects mentioned in Rule 11, I have determined that the

             guilty plea was knowing and voluntary, and that the plea to the offense charged is

             supported by an independent basis in fact establishing each ofthe essential elements

             of the offense.

                      It is, therefore, RECOMMENDED that the plea ofguilty be accepted and that

             the Defendant be adjudged guilty and have sentence imposed accordingly.




                    1 Failure to file written objections to this Report and Recommendation within
             FOURTEEN (14) DAYS after service ofa copy ofthis Report and Recommendation
             shall bar an aggrieved party from attacking such Report and Recommendation before
             the assigned United States District Judge. 28 U.S.C. § 636(b )(1 )(B).



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                IT IS SO RECOMMENDED this 21st day of July, 2014.




                                                       WALKER
                                                       TATES MAGISTRATE JUDGE




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